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11                                   UNITED STATES DISTRICT COURT

12                                          DISTRICT OF NEVADA

13   JAMES HART,                                    )
                                                    )   Case No.: 2:21-cv-01326-BNW
14                  Plaintiff,                      )
                                                    )   UNOPPOSED MOTION FOR EXTENSION OF
15          vs.                                     )   TIME TO FILE CERTIFIED
                                                    )   ADMINISTRATIVE RECORD AND ANSWER;
16   KILILO KIJAKAZI,                               )   DECLARATION OF JEBBY RASPUTNIS
     Acting Commissioner of Social Security,1       )
17                                                  )   (FIRST REQUEST)
                    Defendant.                      )
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       Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to
25   Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted, therefore,
     for Andrew Saul as the defendant in this suit. No further action need be taken to continue this suit by
26   reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1          Defendant, Kilolo Kijakazi, Acting Commissioner of Social Security (the “Commissioner”), by
 2   and through her undersigned attorneys, hereby moves for a 60-day extension of time to file the Certified
 3   Administrative Record (CAR) and answer to Plaintiff’s Complaint. The CAR and answer to Plaintiff’s

 4   Complaint are due to be filed by September 28, 2021. This is the Commissioner’s first request for an

 5   extension of time.

 6          Defendant makes this request in good faith and for good cause, because the CAR, which must be

 7   filed with the Answer and is necessary to adjudicate the case, is not yet available. The public health
     emergency pandemic caused by COVID-19 has significantly impacted operations in the Social Security
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     Administration’s Office of Appellate Operations (OAO) in Falls Church, Virginia, which is responsible
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     for producing the CAR that must be filed with the Answer, per 42 U.S.C. §§ 405(g) and (h). As detailed
10
     in the attached declaration from Jebby Rasputnis, Executive Director of the OAO, beginning mid-March
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     2020, OAO restricted physical access to the Falls Church building, which impacted the production of
12
     CARs because physical access was previously required to produce CARs. OAO has since developed and
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     employed a new business process to produce CARs. Much of the difficulty in producing CARs stemmed
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     from the old process of transmitting hearing recordings to vendors for transcription, how the vendors
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     transcribed the recordings, and how the vendors provided the completed transcripts to OAO. OAO
16   changed this process by reworking how the audio files are submitted, seeking additional vendor capacity,
17   and increasing in-house transcription capacity. With the most recent changes, OAO anticipates being
18   able to produce more than 700 transcripts a week, a significant increase over the pre-COVID-19 average
19   of 300–400 hearing transcripts a week.
20          Despite these improvements, OAO still faces a significant backlog of cases due to the combined
21   effects of pandemic-related disruption and a marked increase in district court filings. New case receipts

22   during the last quarter of FY 2020 and the first quarter of FY 2021 increased (on average) to 2,257 case

23   receipts per month, as compared to 1,458 per month for the same period one year before. Despite this,

24   OAO is making progress in its backlog of cases. At the end of January 2021, OAO had 11,109 pending

25   cases. As of August 9, 2021, OAO had 3,760 pending cases, representing a decrease in our backlog of
     nearly 7,350 cases over the last seven months. OAO continues to work on increasing productivity by
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 1   collaborating with our vendors and searching out and utilizing technological enhancements. Defendant
 2   asks this Court for its continued patience as OAO works to increase its efficiency and production of
 3   CARs, reduce the current backlog, and address rising court case filings. Counsel for Defendant further

 4   states that the Office of General Counsel (OGC) is monitoring receipt of transcripts on a daily basis and

 5   is committed to filing Answers as soon as practicable upon receipt and review of the administrative

 6   records.

 7          Given the volume of pending cases, Defendant requests an extension in which to respond to the
     Complaint until November 29, 2021. If Defendant is unable to produce the certified administrative
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     record necessary to file an Answer in accordance with this Order, Defendant shall request an additional
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     extension prior to the due date.
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            On September 26, 2021, Plaintiff’s counsel was contacted regarding the requested extension.
11
     Plaintiff’s counsel does not object to the requested extension.
12
            It is therefore respectfully requested that Defendant be granted an extension of time to file the CAR
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     and answer to Plaintiff’s Complaint, through and including November 29, 2021.
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            Dated: September 27, 2021
16                                                        CHRISTOPHER CHIOU
                                                          Acting United States Attorney
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                                                          /s/ Allison J. Cheung
18                                                        ALLISON J. CHEUNG
                                                          Special Assistant United States Attorney
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22                                                        IT IS SO ORDERED:

23
                                                          UNITED STATES MAGISTRATE JUDGE
24
                                                                   September 28, 2021
                                                          DATED: ___________________________
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 1                                         CERTIFICATE OF SERVICE
 2
             I, the undersigned, am a citizen of the United States and am at least eighteen years of age. My
 3
     business address is 160 Spear Street, Suite 800, San Francisco, California 94105. I am not a party to the
 4
     above-entitled action. On the date set forth below, I caused service of UNOPPOSED MOTION FOR
 5
     EXTENSION OF TIME TO FILE CERTIFIED ADMINISTRATIVE RECORD AND ANSWER;
 6
     DECLARATION OF JEBBY RASPUTNIS on the following parties by electronically filing the
 7   foregoing with the Clerk of the District Court using its ECF System, which provides electronic notice of
 8   the filing:
 9
             Hal Taylor
10           haltaylorlawyer@gbis.com
             Attorney for Plaintiff
11
     I declare under penalty of perjury that the foregoing is true and correct.
12

13           Dated: September 27, 2021
14
                                                           /s/ Allison J. Cheung
15                                                         ALLISON J. CHEUNG
                                                           Special Assistant United States Attorney
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     Unopposed Mot. for Ext.; No. 2:21-cv-01326-BNW
